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 1        Outlier Provider Groups That Failed RACCR Sample Reviews and Never
 2                                Conducted 100% Reviews
 3
 4                        2008 Date of Service (2009 Payment Year) 1
 5
                                                                                 Sample
 6              Provider Group                    HCC          Sample Size
                                                                               Validation %
 7
             Edinger Medical Group                  069            47             0.00%
 8
 9           Edinger Medical Group                  071            70            60.00%

10           Edinger Medical Group                  101            49            32.65%
11           Edinger Medical Group                  164            57            10.53%
12
           Las Vegas Summit Network                 021            15            73.33%
13
              New West Physicians                   015            67            17.91%
14
15        St. Anthony's Health Services             131            30            80.00%

16
17                        2009 Date of Service (2010 Payment Year)
18                                                                 Sample          # of
                                                       Sample
19             Provider Group               HCC                   Validation   Beneficiaries
                                                        Size
                                                                      %        Not Reviewed
20
              Beaver Redlands-
21                                            052         28       67.86%           142
            Yucaipa Medical Group
22
          Cedar Hill Family Medicine          105         68       79.41%           129
23
24          Edinger Medical Group             069         49        4.08%            5
25          Edinger Medical Group             071         70       64.29%           128
26          Edinger Medical Group             111         29       10.34%            4
27
     1
28    The exact number of beneficiaries not included in the 100% reviews for these HCCs for
     2008 DOS is unknown at this time.
                                                1
                                            364
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 1            HealthCarePartners              112        40      12.50%          224
 2
         Heritage Physicians Network/
 3                                            132        30      80.00%           46
                 High Desert
 4
         Patients First Health Care LLC       015        16      62.50%          846
 5
                   Primecare                  015        20      10.00%          788
 6
 7                 Primecare                  071        33      51.52%          876
 8
 9                         2010 Date of Service (2011 Payment Year)
10
                                                                 Sample          # of
                                                       Sample
11             Provider Group               HCC                 Validation   Beneficiaries
                                                        Size
                                                                    %        Not Reviewed
12
13            Beaver Redlands-
                                              052        30      73.33%           7
            Yucaipa Medical Group
14
15            Beaver Redlands-
                                              055        30      70.00%          129
            Yucaipa Medical Group
16
              Beaver Redlands-
17                                            112        30      16.67%           18
            Yucaipa Medical Group
18
              Chinese American
19                                            027        29      58.62%          283
             Independent Practice
20
            Edinger Medical Group             007        27      37.04%           5
21
            Edinger Medical Group             069        28       0.00%           23
22
23          Edinger Medical Group             100        29      55.17%           2

24          Edinger Medical Group             164        26      15.38%           21
25            HealthCarePartners              051        30       6.67%           91
26
              HealthCarePartners              101        12      50.00%          215
27
              HealthCarePartners              112        7       57.14%           83
28
                                                  2
                                            365
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 1            HealthCarePartners           157       15      66.67%         1,208
 2
              Monarch Healthcare           101       30      40.00%           4
 3
              Monarch Healthcare           157       29      24.14%          62
 4
 5                Primecare                071       28      50.00%          15

 6         Sharp-Rees Stealy Medical       052       30      80.00%         1,664
 7         Sharp-Rees Stealy Medical       157       30       46.67          476
 8
           UCLA Medical Group IPA          132       30      76.67%          33
 9
                WellMed//PIPA              045       30      33.33%          140
10
11              WellMed//PIPA              080       30      56.67%          250

12              WellMed//PIPA              119       28      60.71%          157
13              WellMed//PIPA              164       30      10.00%           7
14
15
                          2011 Date of Service (2012 Payment Year)
16
                                                            Sample          # of
17                                                  Sample
               Provider Group             HCC              Validation   Beneficiaries
                                                     Size
18                                                             %        Not Reviewed
19            Chinese American
                                           027        49     30.61%         236
20           Independent Practice
21            Chinese American
                                           045        50      0.00%          63
22           Independent Practice

23          Edinger Medical Group          069        2       0.00%          4
24          Edinger Medical Group          111        3      33.33%          3
25
            Edinger Medical Group          164        14     14.29%          18
26
                   Erickson                010        39     61.54%         449
27
28                 Erickson                096        33     24.24%         193
                                               3
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 1                 Erickson                  158        42     59.52%          88
 2
         St. Anthony's Health Services       079        50     72.00%         295
 3
 4             West Pasco Risk               037        31     16.13%          18

 5
 6                        2012 Date of Service (2013 Payment Year)
 7                                                            Sample          # of
                                                      Sample
 8             Provider Group               HCC              Validation   Beneficiaries
                                                       Size
                                                                 %        Not Reviewed
 9
10          Beaver Medical Group             112        10     30.00%          41

11                 BIDPO                     018        40     55.00%          23
12            Chinese American
                                             027        13     76.92%         302
13           Independent Practice
14            Coastal Community
                                             079        44     75.00%          63
15            Physicians Network

16            Coastal Community
                                             157        39     30.77%          68
              Physicians Network
17
18                 Erickson                  010        46     50.00%         405

19            HealthCarePartners             045        47     70.21%         341
20            HealthCarePartners             051        35     57.14%         302
21
              HealthCarePartners             074        43     74.42%         693
22
              HealthCarePartners             112        36     50.00%         229
23
24            HealthCarePartners             119        45     77.78%         414

25            HealthCarePartners             157        44     43.18%         1,995
26        Health Texas Medical Group         021        49     77.55%         741
27
          Health Texas Medical Group         161        8       0.00%          3
28
                                                 4
                                           367
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 1
       Hemet Community Medical Group         069      12    50.00%           2
 2
             Highline MSO (CMG)              018      41    34.15%           78
 3
 4           Imperial City County
                                             018      10    80.00%           49
           Physicians Medical Group
 5
 6      Independent Physicians Network       015      49    14.29%           53

 7            Monarch Healthcare             157      35    28.57%          193
 8                Pacific IPA                027      28    75.00%           10
 9
                  Primecare                  104      30    46.67%          163
10
           Santa Barbara Select IPA          104      33     6.06%           14
11
12         Santa Barbara Select IPA          131      47    59.57%          678
13          Santa Clara County IPA           018      24    33.33%           35
14
           Sharp-Rees Stealy Medical         157      49    46.94%          521
15
16        SLO Select IPA SO County           069      12    16.67%           4
17       St. Vincent Medical Group IPA       021      28    67.86%           20
18
          Texas Health Medical Group
19                                           069      35    37.14%           83
             (FKA Medical Edge)
20
                WellMed//PIPA                045      43    51.16%          746
21
                WellMed//PIPA                111      44    15.91%          201
22
23              WellMed//PIPA                157      46    56.52%          539

24
25
26
27
28
                                                 5
                                           368
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